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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 AMERICAN FEDERATION OF
 GOVERNMENT EMPLOYEES, et al.,

        Plaintiffs,

 v.
                                                     Case No. 1:25-cv-10276-GAO
 CHARLES EZZELL, ACTING DIRECTOR,
 OFFICE OF PERSONNEL
 MANAGEMENT, et al.,

        Defendants.


                                NOTICE OF APPEARANCE

       Please take notice that the undersigned counsel hereby enters his appearance on behalf of

Defendants Charles Ezzell, in his official capacity as Acting Director of the Office of Personnel

Management, and the Office of Personnel Management in the above-captioned matter.

Dated: February 6, 2025                          Respectfully submitted,
                                                 /s/ Joshua E. Gardner
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                                                 302820)
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